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 5
     Attorneys for Plaintiff Michelle Becker
 6
 7                                UNITED STATES DISTRICT COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
 9
10   Michelle L. Becker,                          )
                                                     Case No. 3:15-cv-02606-EMC
                                                  )
11                 Plaintiff,                     )
                                                  ) STIPULATION FOR DISMISSAL OF
12                 v.                             ) REMAINING DEFENDANT CAPITAL
13                                                ) ONE BANK (USA), N.A.
                                                  )
14   Experian Information Solutions, Inc., et al, )
                                                  )
15                 Defendants.                    )
16   __________________________________________)

17
18          IT IS HEREBY STIPULATED by and between counsel for plaintiff Michelle L. Becker
19   and counsel for defendant Capital One Bank (USA), N.A. (“Capital One”); that plaintiff’s
20   claims against defendant Capital One shall be dismissed with prejudice, each party to bear its
21   own fees and costs, pursuant to Fed. Rule Civ. Proc. 41(a)(1)(A)(ii).
22   Date: December 1, 2015                                 /s/ Mark F. Anderson
                                                            Mark F. Anderson, SBN 44787
23                                                          Anderson, Ogilvie & Brewer LLP
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27
                                                            Attorney for Plaintiff Michelle L. Becker
28
     STIP FOR DISMISSAL OF EXPERIAN –- BECKER V EXPERIAN INFO SOLUTIONS, NO. 15-12606 EMC

                                                  Page 1 of 2
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 1   Date: December 1, 2015                                                  /s/ Connie Y. Tcheng
                                                                             Connie Y. Tcheng
 2
                                                                             Doll, Amir & Eley LLP
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 4                                                                           Phone: 310.557.9100
                                                                             Email: ctcheng@dollamir.com
 5
 6                                                                           Attorneys for Capital One Bank (USA)

 7                                          FILER ATTESTATION
 8          Pursuant to Civil Local Rule 5.1(i)(3), I, Mark Anderson attest under penalty of perjury
 9   under the laws of the United States that concurrence in the filing of this document has been
     obtained from all of the signatories.
10
     Dated: December 1, 2015                                           /s/Mark F. Anderson
11
                                                                       Mark F. Anderson
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13
      IT IS SO ORDERED:
14                          S DISTRICT
                         A
      ____________________TE           C
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                                                  O
                        S




      Edward M. Chen
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      U.S. District Judge            ED      ER
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     STIP FOR DISMISSAL OF EXPERIAN –- BECKER V EXPERIAN INFO SOLUTIONS, NO. 15-12606 EMC

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